1:16-bk-14945 Doc#: 134 Filed: 06/06/18 Entered: 06/06/18 15:58:49 Page 1 of 1



                 IN THE UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF ARKANSAS
                             Batesville Division



IN RE: MINDY KAY SLOAN                                        Case No. 1:16-14945
                  Debtor                                               Chapter 12


                WITHDRAWAL OF MOTION TO SELL PROPERTY
                          (Document No. 128)

      COMES NOW Debtor, Mindy Kay Sloan by and through her attorney of record,

Theresa L. Pockrus of the Nixon Law Firm, and withdraws her Motion To Sell Property

Located at 234 and 237 Luber Road, Mountain View, Arkansas (Doc. No. 128).

                                            Respectfully Submitted:

                                            /s/ Theresa L. Pockrus
                                            Theresa L. Pockrus (ABA #2001236)
                                            THE NIXON LAW FIRM
                                            4100 Wagon Wheel Road
                                            Springdale, AR 72762
                                            Tel: 479/582-0020
                                            Fax: 479/582-0030
                                            E-mail: theresa@nixonlaw.com

                                            Attorney for Debtor
